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                                   7                                  UNITED STATES DISTRICT COURT
                                   8                             NORTHERN DISTRICT OF CALIFORNIA
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                                         NICHOLAS ROBINSON,                                  Case No. 19-cv-06768
                                  11
                                                         Plaintiff,                          ORDER FOLLOWING
Northern District of California




                                  12                                                         PRETRIAL CONFERENCE
 United States District Court




                                                  v.
                                  13                                                         Re: ECF 86
                                         RYAN DOTE, and others,
                                  14
                                                         Defendants.
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                                  17         The Court held a pretrial case management conference on November 3, 2021. This
                                  18   order summarizes the events discussed at the conference:
                                  1.
                                  19         1.        LOCATION: The trial will take place Courtroom 6, on the 4th floor.
                                  2.
                                  20         2.        COURTROOM WALK-THROUGH:. The parties will coordinate with my
                                  21                   Courtroom Deputy, Lili Harrell, to schedule a tech rehearsal.
                                  22         3.        JURY TRIAL SCHEDULE: The trial will begin with opening statements
                                  23                   after jury selection on Monday November 22, 2021. The first witness will be
                                  24                   called on Tuesday November 23, 2021. The trial will run from 9:00 a.m.
                                  25                   through 4:00 p.m. each weekday with a morning break, lunch break, and
                                  26                   afternoon break. There will be no trial on November 25, 2021 and November
                                  27                   26, 2021. Following considerations of motions in limine, the Court
                                  28                   will grant each side six hours for evidence and arguments.
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                                            4.    MASK POLICY: The Court requires all individuals to wear masks inside
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                                                  the courtroom. Witnesses and attorneys may wear clear masks for their
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                                                  testimony and opening and closing statements.
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                                            5.    JURY SELECTION: Jury selection will take place on Monday, November
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                                                  22, 2021, at 9:00 a.m. in Courtroom 1. The jurors for this case will be
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                                                  selected from 50 jurors called. The jurors will come to Courtroom 1
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                                                  in groups of no more than 20 jurors. The parties will each have 20 minutes
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                                                  for voir dire of each group. Each side will have 3 preemptory challenges
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                                                  total for all approximately 50 jurors. Eight jurors will be selected.
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                                            6.    JURY INSTRUCTIONS: The Court will post proposed opening jury
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                                                  instructions on ECF by November 15, 2021. The parties must review the
Northern District of California




                                  12
 United States District Court




                                                  proposed instructions and present any objections to the Court by November
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                                                  16, 2021.
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                                            7.    WITNESSES GENERALLY: Only one attorney per side will be permitted
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                                                  to question and object to the testimony of each witness. Additionally, aside
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                                                  from during jury selection, witnesses are not permitted in the courtroom until
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                                                  they complete all of their testimony, including rebuttal testimony.
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                                            8.    VERDICT FORM: The Court will post a proposed verdict form on ECF by
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                                                  November 22, 2021. The parties must review the proposed form and present
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                                                  any objections to the Court by November 23, 2021.
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                                            IT IS SO ORDERED.
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                                       Dated: November 8, 2021                 _____________________________________
                                  24                                                NATHANAEL M. COUSINS
                                                                                    United States Magistrate Judge
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